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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,             )
                                      )
     Plaintiff,                       )     4:06CR3062
                                      )
     v.                               )
                                      )
ROBERT BERLIE,                        )       ORDER
                                      )
     Defendant.                       )



     IT IS ORDERED,

     The joint oral motion of counsel is granted and,

     The change of plea hearing is continued to August 8, 2006 at
2:00 p.m.

     For this defendant, the time between today’s date and the
hearing on the anticipated plea of guilty is excluded for
purposes of computing the limits under the Speedy Trial Act.
See 18 U.S.C. § 3161(h)(1)(I)&(h)(8)(A)(B).

     The defendant shall be present at the hearing.

     Dated July 12, 2006.


                                    BY THE COURT


                                    s/    David L. Piester
                                    David L. Piester
                                    United States Magistrate Judge
